      Case 3:20-cv-02584-N Document 1 Filed 08/30/20                                Page 1 of 24 PageID 1



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

JANE DOE,                                                §
                                                         §
                   Plaintiff,                            §
                                                         §               CIVIL ACTION NO. _____________
v.                                                       §
                                                         §                                    JURY DEMANDED
SOUTHERN METHODIST                                       §
UNIVERSITY,                                              §
                                                         §
                   Defendant.                            §

                 PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff Jane Doe (hereinafter “Plaintiff”) files this Original Complaint

(hereinafter “Complaint”) and Jury Demand complaining of Southern Methodist University

(hereinafter “SMU” or “Defendant University”). In support thereof, Plaintiff would respectfully

show the Court as follows:

                                                          I.
                                                       PARTIES

         1.        Plaintiff Jane Doe1 is a cisgender female individual who, at the time of the sexual

assault complained of herein, was a student attending Southern Methodist University.

         2.        Defendant Southern Methodist University is a private educational institution with

its campus located in Dallas, Dallas County, Texas. SMU may be served with process by serving

its registered agent, Paul J. Ward, Perkins Admin Bldg., 6425 Boaz Lane, Room 130, Dallas, Texas

75205.



1 "Jane Doe" has been substituted for Plaintiff's name for all causes of action brought through this Complaint which
would otherwise publish important privacy interests of all parties. Plaintiff fears for her personal safety, as well as that
of her family and friends as a result of this Complaint. Fairly applying this concern, the Complaint also identifies the
perpetrator of rape as “Assailant.” Finally, the Complaint does not use the Plaintiff’s administrators' names but
identifies them as “Administrator” or by their titles as opposed to naming the staff of Defendant University. Upon
consultation with counsel for the Defendant, Plaintiff will file a Motion to Proceed with Fictitious Names.

ORIGINAL COMPLAINT                                                                                            Page 1 of 24
     Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 2 of 24 PageID 2



                                             II.
                                  JURISDICTION AND VENUE

        3.      The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331, which gives district courts original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.

        4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since Defendant

University resides or resided in this district and the events or omissions giving rise to the claim

occurred in this district.

        5.      This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343, which

gives district courts original jurisdiction over (a) any civil action authorized by law to be brought

by any person to redress the deprivation, under color of any State Law, statute, ordinance,

regulation, custom or usage, of any right, privilege or immunity secured by the Constitution of the

United States or by any Act of Congress providing for equal rights of citizens or of all persons

within the jurisdiction of the United States; and (b) any civil action to recover damages or to secure

equitable relief under any Act of Congress providing for the protection of the civil rights.

        6.      Plaintiff brings this action to redress a hostile educational environment pursuant to

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as more fully set forth herein.

This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth Amendment to the

United States Constitution, made applicable to Defendants through the Fourteenth Amendment to

the United States Constitution.

        7.      Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to 28

U.S.C. § 1367(a), to hear and decide claims arising under state law including breach of contract

and negligence.




ORIGINAL COMPLAINT                                                                         Page 2 of 24
     Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 3 of 24 PageID 3



                                                III.
                                          APPLICABLE LAW

        8.      Title IX of the Education Amendments of 1972 ("Title IX"), 20 U.S.C. § 168l(a),

states that: "No person in the United States shall, on the basis of sex, be excluded from participation

in, be denied the benefit of, or be subjected to discrimination under any education program or

activity receiving Federal financial assistance .... "

        9.      Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R.

Part 106. 19. 34 C.F.R. § 106.8(b) which provides: " ... A recipient shall adopt and publish

grievance procedures providing for prompt and equitable resolution of student and employee

complaints alleging any action which would be prohibited by this part."

        10.     In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988), the

United States Supreme Court recognized that a recipient of federal educational funds intentionally

violates Title IX, and is subject to a private damages action, where the recipient is "deliberately

indifferent" to known acts of discrimination.

        11.     In Davis v. Monroe County Board. of Education, 526 U.S. 629 (1999), the United

States Supreme Court extended the private damages action recognized in Gebser to cases where

the harasser is a student, rather than a teacher. Davis held that a complainant may prevail in a

private Title IX damages action against a school district in cases of student-on-student harassment

where the funding recipient is: a) “deliberately indifferent to sexual harassment of which the

recipient has actual knowledge,” and b) “the harassment is so severe, pervasive, and objectively

offensive that it can be said to deprive the victims of access to the educational opportunities or

benefits provided by the school.” Davis, 526 U.S. at 1669-76.

        12.     Title IX jurisprudence as well as Department of Education regulations have long

recognized that a single event of rape constitutes harassment so severe, pervasive and objectively


ORIGINAL COMPLAINT                                                                          Page 3 of 24
    Case 3:20-cv-02584-N Document 1 Filed 08/30/20                   Page 4 of 24 PageID 4



offensive that it deprives its victims of access to the educational opportunities provided by the

school: "The more severe the conduct, the less need there is to show a repetitive series of incidents

to prove a hostile environment, particularly if the harassment is physical. Indeed, a single or

isolated incident of sexual harassment may create a hostile environment if the incident is

sufficiently severe. For instance, a single instance of rape is sufficiently severe to create a hostile

environment." U.S. Department of Education, Office of Civil Rights, "Dear Colleague" Letter of

April 4, 2011.

       13.       Regardless, in the circumstances giving rise to the claims of this Plaintiff, and

others, a history of student harassment, resulting from deliberate indifference, has been allowed to

continue at the Defendant University for many years.

       14.       Texas law provides protections for students and requires the exercise of reasonable

care on the part of the University.

       15.       Texas law provides for the protection of invitees from foreseeable criminal harm.

       16.       Texas law also provides for a cause of action of breach of contract. Plaintiff has an

educational contract with the Defendant University that included agreements and duties to provide

adequately for their safety, to adequately and in compliance with law report instance of sexual

assault and/or harassment the breach of which cause the damages claimed herein

                                              IV.
                                      GENERAL ALLEGATIONS

       1.        At all relevant times, SMU received federal funding for its academic programs and

activities and was subject to the requirements of Title IX of the Education Amendments of 1972,

20 U.S.C. 1681(a) (hereinafter, “Title IX”).




ORIGINAL COMPLAINT                                                                         Page 4 of 24
       Case 3:20-cv-02584-N Document 1 Filed 08/30/20                Page 5 of 24 PageID 5



         2.    The Defendant University implemented and executed policies and customs in

regard to the events that resulted in the deprivation of Plaintiff's constitutional, statutory, and

common-law rights.

         3.    The Defendant University is responsible for providing the security of its students

and guests which it does through "Public Safety," in effect a private police force.

         4.    The Defendant University is responsible for ensuring that all of its employees are

properly trained and supervised to perform their jobs.

         5.    The Defendant University is responsible for the acts and omissions of its

employees, agents, part-time student workers and tenants.

         6.    The Defendant University received reports from Plaintiff concerning the rape she

experienced while at the Defendant University.

         7.    The Defendant University failed to adequately investigate the event Plaintiff

reported in violation of Title IX.

         8.    The Defendant University failed to properly investigate the assault and later

retaliation Plaintiff endured of which Defendant had either actual or constructive notice.

         9.    Upon information and belief, the Defendant University failed to report the criminal

acts involved in the reports it received from Plaintiff in violation of its obligations under the Clery

Act.

         10.   At all times relevant to this Complaint, Defendant failed to protect Plaintiff, and

others, as it negligently discharged its duty to provide safety to the students and guests of the

University.




ORIGINAL COMPLAINT                                                                          Page 5 of 24
    Case 3:20-cv-02584-N Document 1 Filed 08/30/20                   Page 6 of 24 PageID 6



       11.     Plaintiff was a student at SMU starting in August of 2018. While at SMU, Plaintiff

became acquainted with her assailant, an SMU football player (hereinafter “Assailant,” see fn. 1).

Assailant is over 6’4” and weighs approximately 335 pounds, and plays offensive line for SMU.

       12.     In August of 2019, Plaintiff was raped by Assailant. She promptly and bravely

reported her assault to SMU in September of 2019.

       13.     Plaintiff’s sexual assault, like countless others, occurred during what has become

known as a time of indifference by universities and Title IX officials in response to reports of

assault. This has proven especially true where the rape is perpetuated by a football player or other

athlete during a time of growth for the program.

       14.     Additionally, Plaintiff’s sexual assault, like countless others, resulted in a startling

absence of consequences to her assailant, and little to no comfort or support to Plaintiff.

       15.     Prior to Plaintiff’s arrival at SMU, SMU officials permitted a campus condition rife

with sexual assault and completely lacking the basic standards of support for victims as required

by federal and state law. This case arises from SMU’s deliberately indifferent response Plaintiff’s

report of student-on-student sexual assault.

       16.     After a belabored, opaque, and inconclusive Title IX process, Plaintiff was

informed that her report resulted in a finding by SMU’s Title IX officials of “insufficient

evidence.”

       17.     The finding of “insufficient evidence” was irresponsible and unconscionable.

Beyond reaching the incorrect outcome, SMU violated Plaintiff’s due process rights and

negligently administered its own policies and procedures throughout the Title IX process. For

example, and without limitation:

       a. SMU failed to provide “interim measures,” to Plaintiff including but not limited to
          SMU’s failure to provide any reasonable or agreeable option whereby Plaintiff was not


ORIGINAL COMPLAINT                                                                         Page 6 of 24
    Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 7 of 24 PageID 7



             forced to live with and see her rapist repeatedly. Plaintiff put SMU on notice by
             requesting interim measures, which were declined. No other interim measures were
             suggested or provided.

       b. SMU failed to provide Plaintiff with an appropriate reporting mechanism, and only
          allowed access to a male Title IX investigator who ultimately communicated the
          judgment of the University to Plaintiff, further undermining her legitimate report of
          assault.

       c. SMU failed to keep Plaintiff informed of the investigation, outcome, and sanction of
          her case, despite its own procedure noting that the parties have the right to be informed
          of the “outcome and sanction of cases involving sexual assault.”

       d. SMU failed to conduct a thorough and appropriate Title IX investigation; belied by its
          refusal to provide witness statements or even describe the nature of the “inconsistent
          information” provided by other witnesses. SMU also failed to give Plaintiff any
          opportunity to review the gathered information before a final decision and respond, or
          to provide additional information. Plaintiff’s listed witnesses further corroborated her
          report; again demonstrating that the investigation was not thorough, nor did it
          accurately depict the facts.

       e. SMU violated its own Title IX policy. For example, and without limitation, SMU failed
          to give Plaintiff an opportunity to review SMU’s report and/or present information or
          evidence, and failed to administer its own judgment within 60 days.

       f. SMU failed to timely reach said judgment/decision; failed to allow Plaintiff appropriate
          time to appeal the Title IX decision; and failed to reasonably accommodate Plaintiff
          following its administration and report of its final judgment.

       18.      SMU’s failure to promptly and appropriately investigate and respond to the assault

and allowed a condition to be created that substantially increased Plaintiff’s chances of being

sexually assaulted, as well as others.

       19.      Further, SMU’s failure to promptly and appropriately investigate and respond to

Plaintiff’s assault led to retaliation against Plaintiff. SMU’s failures enabled and emboldened

Plaintiff’s rapist to retaliate against her in a number of ways, including but not limited to via

multiple instances of defacing Plaintiff’s property, and multiple instances of online bullying. After

Plaintiff’s timely and courageous report of her rape, Plaintiff vehicle was spat on and defaced.




ORIGINAL COMPLAINT                                                                        Page 7 of 24
    Case 3:20-cv-02584-N Document 1 Filed 08/30/20                 Page 8 of 24 PageID 8



Further, Plaintiff received threatening, distracting, and bullying messages via Instagram and online

platforms.

       20.     Plaintiff immediately reported said retaliation, and SMU again failed to promptly

and appropriately investigate and respond in keeping with their own Title IX policies. SMU’s

failures to address the retaliation Plaintiff experienced after reporting her assault demonstrate

SMU’s continued and blatant disregard for student safety. Perhaps most egregiously, SMU made

no effort to even enforce the no-contact order between Plaintiff and her rapist.

       21.     As a direct and proximate result of the harassing educational environment created

by SMU’s deliberately indifferent response to the sexual assault and subsequent harassment of

Plaintiff, as well as violations of her state and federal legal rights, Plaintiff has suffered and

continues to suffer untold psychological damage, profound emotional distress, permanent loss of

standing in her community and damage to her reputations, and her future relationships have been

negatively affected.

       22.     Plaintiff has also been deprived of meaningful treatment, including medical and

psychological support, as a result of SMU’s conduct and the resulting medical environment which

they caused.

       23.     Plaintiff has also been deprived of a normal college education due to SMU’s

conduct and the resulting educational environment which SMU caused.

       24.     Plaintiff has also been damaged by missed educational opportunities. Also, her

future earning capabilities have been damaged by SMU’s conduct and the resulting hostile

educational environment which SMU caused.




ORIGINAL COMPLAINT                                                                       Page 8 of 24
    Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 9 of 24 PageID 9



       25.     Moreover, SMU’s failure to promptly and appropriately investigate and respond to

assaults such as Plaintiff’s furthers sexual harassment and a hostile environment, and perpetuates

the rape culture which resulted in Plaintiff’s pain, anguish, and damages.

       26.     SMU’s failure to promptly and appropriately investigate and respond to Plaintiff’s

specific report resulted in damages to Plaintiff, including mental and physical pain and anguish,

past and future.

       27.     Finally, SMU’s failures to promptly and appropriately administer its own Title IX

procedures effectively denied Plaintiff, and other female students, access to educational

opportunities. Plaintiff brings this action to redress a hostile educational environment pursuant to

Title IX.

                                        V.
                        CONTEXT OF SMU’S FOOTBALL PROGRAM

       28.     SMU football received the NCAA’s infamous “death penalty” on February 25,

1987, effectively closing the football program down. Because of the death penalty, SMU lost its

place at the table as a major college football program, and was left behind when the Big 12 formed

in 1996.

       29.     In the following 20 years, the Mustangs have failed to secure a seat at the profitable

football conferences. SMU football has now been through three Group of Five conferences

(Western Athletic, Conference USA, American), thus missing out on the riches of the BCS and

College Football Playoffs.

       30.     SMU has posted only three winning seasons since receiving the death penalty from

the NCAA. It is safe to say that SMU’s long-sought recovery has been decades in the making, but

only arrived within the past two years.




ORIGINAL COMPLAINT                                                                        Page 9 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                 Page 10 of 24 PageID 10



        31.     In 2017, SMU hired Daniel “Sonny” Dykes as head football coach. Dykes was

brought to SMU specifically to recover the program. After achieving a 5-7 record in 2018, Dykes

coached SMU to a 10-win season in 2019. Notably, this marked the program’s most wins in a

season since 1984. The Mustangs started the season 8–0, their first 8–0 start to a season

since 1982.

        32.     As a result of this sudden success, SMU football players themselves became larger-

than-life celebrities on campus, as SMU football consumed the campus to a degree not seen in

decades. SMU, in turn, is maximizing its football public relations machine. As a result, daily life

for SMU students is dominated by football, and football players are often given special treatment

by administration and faculty.

        33.     SMU’s recent football success was a controlling or contributing factor to SMU’s

Title IX officials’ misadministration of the Title IX investigation into an assault committed by one

of its football players. Further, SMU’s lack of any kind of disciplinary action against a football

player in the wake of a credible report of assault belies SMU officials’ priorities in investigating

instances of sexual assault on SMU’s campus.

                                        VI.
                       SMU CONTROLLED THE CONTEXT OF THE RAPE

        34.     SMU had both notice and control over the context of the violence perpetrated by

its football player.

        35.     The football player who raped Plaintiff was recruited and brought to SMU

specifically to play football. Upon information and belief, the assailants would not have been in

Dallas but for SMU’s recruiting and scholarship to play football at SMU




ORIGINAL COMPLAINT                                                                      Page 10 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 11 of 24 PageID 11



       36.     Upon information and belief, the SMU athletic department would coordinate

housing for the football players, which was the dormitory and/or location where Plaintiff’s rape

occurred.

       37.     When necessary, the SMU athletic department would manage the housing

assignments of SMU football players and require specific housing changes or restrictions.

                                        VII.
                      PLAINTIFF’S RAPE AND SUBSEQUENT REPORT

       38.     On the night of Saturday, August 24, 2019, Plaintiff attended a party with friends,

and then returned to her dorm alone. Shortly thereafter, Assailant messaged Plaintiff that he

“wanted to hookup tonight.” Plaintiff declined and clearly stated that she did not want to engage

in a “hookup” or have sex with Assailant.

       39.     Thereafter, Plaintiff Face-timed a close friend and confided the she did not want to

have sex with Assailant. Shortly after the call ended, Assailant arrived at Plaintiff’s room

uninvited.

       40.     Upon entering Plaintiff’s room, Assailant immediately took off his pants. Plaintiff

asked what he was doing. Assailant proceeded to push Plaintiff onto her bed and said “you know

why I’m here.” Plaintiff again clearly and explicitly told Assailant she did not want to have sexual

intercourse with Assailant. Plaintiff was in fear for her life as Assailant is well over 6’ 4”, weighs

over 335 pounds, and was an experienced and conditioned athlete as a football player for SMU.

       41.     Assailant proceeded to push Plaintiff down. Plaintiff again clearly stated that she

did not want to have sex with Assailant, explaining further that she was on her period in an attempt

to stop the rape. Assailant ignored Plaintiff’s clearly nonconsensual statements, continued to force

himself onto Plaintiff, and raped her.




ORIGINAL COMPLAINT                                                                        Page 11 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                 Page 12 of 24 PageID 12



        42.    The following morning and thereafter, Plaintiff feared being confronted by

Assailant or his teammates, especially because Assailant lived in Plaintiff’s own student housing.

        43.    Following the sexual assault, Plaintiff did not want another student such as herself

to be raped by Assailant. Plaintiff voluntarily reached out to the Title IX office to bravely report

her assault.

        44.    Following the submission of Plaintiff’s written statement reporting her assault,

SMU repeatedly obscured and delayed the administration of the Title IX investigation, offering

Plaintiff virtually no support or resources.

                                  VIII.
      SMU SUBJECTS PLAINTIFF TO A CONTINUING HOSTILE ENVIRONMENT

        45.    Following the August 2019 sexual assault, Plaintiff continued to feel the sexually

hostile effects of SMU’s policies, or lack of administration thereof, for the remainder of her time

at SMU.

        46.    Plaintiff was forced to face her assailant around campus, in the classroom and in

her living situation, as SMU declined to remove Plaintiff’s rapist from its institution or even

Plaintiff’s own student housing.

        47.    The result of SMU’s continued sexually hostile and discriminatory policies

combined with Plaintiff being required to live in the same location as her rapist created a highly

hostile educational environment for Plaintiff on a daily basis.

        48.    Throughout this entire period of time, SMU was clearly on notice of the report

that one of their female students, Plaintiff, was raped by an SMU football player.

        49.    As a result, SMU had control over both the offender as well as the student

housing situation, and had the ability to address its effects and prevent a rape recurrence. Yet,

SMU did nothing.


ORIGINAL COMPLAINT                                                                      Page 12 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 13 of 24 PageID 13



                                           IX.
                               SMU’S RESPONSE AND POLICIES

       A. SMU’s Response:

       50.     On or about September 10, 2019, Plaintiff contacted SMU to report her rape.

Plaintiff received a response on or about September 10, 2019 from the Title IX/Equal Opportunity

Investigator and Title IX Coordinator advising her of her rights and setting a time to meet.

       51.     Plaintiff attended an in-person meeting on or about September 12, 2019, wherein

she reported the details of her rape directly to a male SMU administrator, who was also the Title

IX investigator. Notably, Plaintiff was alone in a room with only the male Title IX investigator,

and no other witnesses or persons, at the time of reporting her rape. She then submitted her official

final statement at the request of the Title IX/Equal Opportunity Investigator and Title IX

Coordinator on or about September 18, 2019.

       52.     No assistance or support was provided to Plaintiff beyond an emailed list of

resources from the Title IX/Equal Opportunity Investigator and Title IX Coordinator. Plaintiff was

not offered any interim measures, support, counseling, or living arrangement changes despite the

nature of the assault and Plaintiff’s proximity to her assailant. SMU refused to move the

perpetrator, which would have been an easy accommodation or interim measure that SMU failed

to do. SMU, via its employees/administrators, only suggested that Plaintiff move and/or transfer

from her own accommodations.

       53.     Plaintiff repeatedly had to inquire with the University to determine what actions

could or should be taken by a victim of assault such as herself. Plaintiff’s correspondence

demonstrates her confusion, stating her relief that she had “found the right person.” Plaintiff’s

prompt report and desire to find resources should be commended; however, her correspondence

also makes clear that students in her situation are not given appropriate education and/or access to


ORIGINAL COMPLAINT                                                                       Page 13 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                   Page 14 of 24 PageID 14



resources sufficient to respond to, much less prevent, instances of sexual assault. Plaintiff was re-

victimized by this system following her prompt report of the Assault.

       54.     Following her detailed report on or about September 18, 2019, Plaintiff was left in

the dark and required to initiate correspondence to receive further response from the University.

Plaintiff’s correspondence with SMU demonstrates that she reached out to inquire if she could be

of further assistance, or if she needed to do anything further. Despite her openness, prompt report,

and desire to protect fellow students, Plaintiff was not provided any information regarding her

assailant’s response or the University’s investigation and prompt action in response to same.

       55.     Plaintiff was further provided no reasonable accommodations, nor was it offered

that her Assailant be relocated. Again, it was the suggestion of the University that she herself

should move or transfer living accommodations.

       56.     Despite SMU’s own Title IX policy which states that investigations usually take 60

days, Plaintiff’s investigation extended this time period by over a month, lasting in total over 100

days. It can be assumed that SMU’s policy was written in keeping with the federal government’s

recommendation that investigations resolve within 60 days. Given that Plaintiff had little to no

involvement nor any information throughout the process, the Title IX process should never have

taken this long. Notably, the extended investigation period concluded right around the end of

football season, thus minimizing the chance that Plaintiff’s report might adversely affect the

perpetrator’s, or SMU’s, football season.

       57.     Further, and even more notably, the perpetrator was not pulled off the roster or

football team while the investigation was pending. This leads to an inference that SMU deliberately

extended the investigation to avoid the risk of Plaintiff going public with her report, and to avoid

the possibility that the perpetrator be found responsible during the football season. Finally, it leads



ORIGINAL COMPLAINT                                                                        Page 14 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 15 of 24 PageID 15



to an inference that the report was not communicated or reported in any way to the Athletics

program which Plaintiff’s assailant was involved in as an SMU football player.

       58.     Plaintiff was advised that a judgment would be finalized and delivered to her by

Wednesday, November 20th, 2019. When no judgment was forthcoming, an anxious Plaintiff was

forced to again contact SMU’s offices to inquire whether a resolution had been reached. She spent

an excruciating 24 hours waiting for the judgment of the University, which did not come until

Thursday, November 21st, 2019. Despite this delay, and the length of the investigation as a whole,

Plaintiff’s request for an extension for her appeal due to the upcoming Thanksgiving holiday and

impending finals schedule was promptly denied.

       59.     Plaintiff’s report to SMU, which recounts details of a disturbing and explicit sexual

assault by an SMU football player, was dismissed by the University for “insufficient evidence” in

the judgment issued on November 21, 2019.

       60.     The judgment further stated that there was “contradictory testimony” to Plaintiff’s

statement. This is the case in the vast majority of sexual assault cases and without additional detail

or explanation this blanket statement is an improper basis upon which to base a dismissal. The

proceeding should have, at a minimum, included findings of fact and recorded statements.

       61.     Plaintiff was not offered the opportunity to review any contradictory statements,

nor refute them. The only information provided to Plaintiff was that “two witnesses” provided

information inconsistent with her account. She was not provided further information regarding the

alleged inconsistencies, and therefore had no opportunity to rebut or further appeal this alleged

information. Plaintiff was also not offered an opportunity to participate in or be present at any sort

of final adjudication hearing on the matter.




ORIGINAL COMPLAINT                                                                        Page 15 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 16 of 24 PageID 16



       62.     Despite the fact that Plaintiff offered evidence and witness corroboration to

substantiate her allegations against Assailant, no action was taken against him by the University.

Notably, he continues to perform well for SMU’s football program and remains in the program.

Upon information and belief, no further action was taken against SMU as a result of Plaintiff’s

courageous and timely report.

       63.     SMU’s response, or lack thereof, to Plaintiff’s rape is unconscionable. In sum,

SMU declined to take any action in the wake of Plaintiff’s report of rape.

       64.     Thus, SMU’s own response established that it did not adhere to or administer its

own policies appropriately, and further, that the policies as set forth below perpetuated a rape

culture and caused and exacerbated Plaintiff’s damages.

   B. SMU’s Policies:

       65.     SMU violated its own Title IX policies, including without limitation by violating

the following: 1) SMU violated its policy of providing interim protective steps for complainants;

2) SMU violated its policy of extending for a reasonable period any of the deadlines set forth by

its own policies; and 3) SMU violated its policy of taking approximately 60 days for the

investigation following the receipt of the completed Title IX Complaint Form.

       66.     In addition to violating SMU’s own Title IX policies, SMU further demonstrated

the following policies which are not in keeping with federal law, and which served to exacerbate

Plaintiff’s rape and cause her additional damages.

       67.     Policy of No or Little Discipline: Despite Plaintiff’s credible report of rape, SMU

chose not to use any disciplinary action whatsoever in regard to Plaintiff’s rapist.

       68.     Policy of Interference with Female Students’ Access to Help. Upon information

and belief, SMU conducted its own untrained internal inquiries, which improperly discredited the



ORIGINAL COMPLAINT                                                                     Page 16 of 24
      Case 3:20-cv-02584-N Document 1 Filed 08/30/20               Page 17 of 24 PageID 17



Plaintiff/Title IX complainant and denied her the right to a fair, impartial and informed

investigation, interim measures or processes promised to them under SMU’s own policy. In fact,

the internal steps provided by SMU and the timeline that it alone controlled gave the illusion of

responsiveness to Plaintiff, but failed to provide a meaningful institutional response under Title

IX.

         69.   Policy of Not Educating Staff/Students. SMU failed to train students and staff

about Title IX. Plaintiff and likely other women on campus have no idea what resources were

available to them and were/are unaware of Title IX or how SMU’s Title IX office could help. Only

after conducting her own careful research was Plaintiff able to navigate the system to seek

assistance which she did not end up getting. Even after researching, Plaintiff struggled to find “the

right person” to report her rape to, which is clear from her correspondence with SMU’s Title IX

officials. SMU thus wholly failed to provide training and education to Plaintiff and students like

her; failed to identify and train responsible employees under Title IX; failed to provide clear

information about reporting options and resources on campus; and failed to have a centralized

process for ensuring that all reports reached the Title IX Coordinator.

         70.   Policy of Not Responding to Reports of Retaliation. SMU failed to provide any

meaningful response under its own Title IX policies, which require protection from retaliation in

instances such as Plaintiff’s, where an assault has been reported. Plaintiff has and did experience

retaliation and intimidation, and SMU made no investigation, interim measures, or processes as

promised under its own policy. Further, SMU did not direct Plaintiff to any resources (such as

campus security or services that could have escorted Plaintiff to class) for her safety and wellbeing.

Finally, SMU did not even attempt to re-enforce or re-instruct Plaintiff’s rapist regarding the no-

contact order. No disciplinary measures were taken whatsoever.



ORIGINAL COMPLAINT                                                                       Page 17 of 24
     Case 3:20-cv-02584-N Document 1 Filed 08/30/20                 Page 18 of 24 PageID 18



                                                 X.
                                          CAUSES OF ACTION

A.      COUNT 1: DISCRIMINATION UNDER TITLE IX: SEXUALLY HOSTILE CULTURE (Violation
        of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a))

        71.      Plaintiff incorporates by reference all preceding facts and allegations set forth

above in Paragraphs 1 through 70.

        72.      SMU was deliberately indifferent to a culture of sexual hostility and violence

instituting and/or mis-administering the policies cited herein, including without limitation:

                 •   Violating its own policies set forth under Title IX;

                 •   Policy of no or little discipline;

                 •   Policy of interference with female students’ access to help;

                 •   Policy of not educating staff/students.

        73.      SMU’s sexually hostile policies and practices were a proximate cause of Plaintiff

being subjected to multiple semesters of sexual harassment in the form of (1) a hostile educational

environment, and (2) ongoing pain, mental anguish, and harassment by forcing her to interact and

share a housing facility with her assailant.

        74.      The mental pain and anguish that Plaintiff suffered was so severe, pervasive and

objectively offensive that it effectively barred her access to educational opportunities and benefits.

        75.      As a direct and proximate result of SMU’s creation of and deliberate indifference

to its sexually hostile educational environment, Plaintiff suffered damages and injuries for which

SMU is liable.

B.      COUNT 2: GENDER DISCRIMINATION UNDER TITLE IX: DELIBERATE INDIFFERENCE TO
        PLAINTIFF’S RAPE (Violation of Title IX of the Education Amendments of 1972, 20
        U.S.C. § 1681(a))




ORIGINAL COMPLAINT                                                                        Page 18 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                  Page 19 of 24 PageID 19



       76.     Plaintiff incorporates by reference all preceding facts and allegations set forth

above in Paragraphs 1 through 75.

       77.     SMU was on notice and aware of Plaintiff’s rape as well as the identity of the

football player assailant at numerous points in time.

       78.     SMU deliberately chose not to fully investigate the football player, even after the

rape of Plaintiff and her subsequent report.

       79.     Such failure to investigate the assault, conduct any disciplinary hearings, or contact

Plaintiff and offer any assistance or resources was clearly unreasonable.

       80.     SMU’s deliberate indifference to Plaintiff’s rape exposed her to continued mental

pain and anguish and sexual harassment which was so severe, pervasive, and objectively offensive

that it effectively barred her access to meaningful educational opportunities and benefits including

academics, athletic programs, and on-campus events and activities.

       81.     As a direct and proximate result of SMU’s deliberate indifference to Plaintiff’s

rape, Plaintiff suffered damages and injuries for which SMU is liable.

C. COUNT 3: TEXAS TORT LAW – NEGLIGENCE

       82.     SMU owed Plaintiff a duty of reasonable care. SMU breached their duty in multiple

   ways including:

       a. Failing to proper hire, train and retain officers, staff and faculty as to proper methods to

       deal with reports of sexual abuse, investigate same and accommodate victims in a manner

       that would permit them to without undue hindrance, and complete their higher education;

       b. Failing to properly and timely report incidents of sexual assault;

       c. Failing to provide adequate counseling and assistance to victims of sexual assault;




ORIGINAL COMPLAINT                                                                       Page 19 of 24
  Case 3:20-cv-02584-N Document 1 Filed 08/30/20                Page 20 of 24 PageID 20



     d. Failing to adequately monitor and supervise departments, including athletic departments,

     to ensure compliance with protections and standards for sexual assault prevention,

     reporting and investigation;

     e. Failing to discover, develop and/or implement basic safeguards designed to prevent

     and/or minimize incidents of sexual assault;

     f. Failing to investigate and/or monitor persons accused of sexual assault to ensure

     additional events did not occur;

     g. Failing to adopt and implement adequate safeguards to prevent known sexual harassment

     occurring on campus;

     h. Failing to provide adequate staff, with proper training, to counsel and assist victims of

     sexual assault;

     i. Tolerating sexual assailants on campus despite reports to the highest levels of their

     identities;

     j. Failing to adopt education programs to promote awareness of rape, acquaintance rape,

     and other sex crimes;

     k. Failing to adopt and enforce institutional sanctions for sex offenses, both forcible and

     non-forcible;

     l. Failing to adopt and enforce procedures students should follow if they become sexual

     assault victims, including who should be contacted, the importance of retaining evidence,

     and to whom the offense should be reported;

     m. Failing to inform victims that they have the option of reporting the sexual assault to law

     enforcement authorities and that they will receive assistance from the institution in the

     process;



ORIGINAL COMPLAINT                                                                    Page 20 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                 Page 21 of 24 PageID 21



       n. Failing to notify sexual assault victims about counseling services and options for

       changing academic schedules and living arrangements in the wake of a sexual assault and

       address or protect against retaliation in the wake of reporting a sexual assault;

       o. Failing to put in place an accurate routine procedure to notify the campus community

       about serious criminal activity that is likely to be a threat to students and employees;

       p. Failing to adopt and periodically review procedures to make sure they are adequate to

       address complaints of serious sexual misconduct.

       q. Failing to develop a clear policy about which kinds of sexual offenses will be handled

       internally and which will be turned over to the criminal authorities; and

       r. Failing to make the goal of protecting the campus community from sexual assaults and

       harassment an integral part of the institution's day-to-day mission of providing a safe and

       secure learning and working environment.

     83.       The above enumerated breaches of duties were the proximate cause of substantial

injury and damage to Plaintiff, as more specifically described herein.

     84.       These damages include, without limitation, great pain of mind and body, physical

injury, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life; which Plaintiff has

suffered and continues to suffer spiritually. Plaintiff was prevented and will continue to be

prevented from performing her daily activities and obtaining the full enjoyment of life; has

sustained and will continue to sustain loss of earnings and earning capacity; and/or has incurred

and will continue to incur expenses for medical and psychological treatment, therapy, and

counseling.

D. COUNT 4: TEXAS LAW – BREACH OF CONTRACT



ORIGINAL COMPLAINT                                                                         Page 21 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                    Page 22 of 24 PageID 22



       85.        Plaintiff had a valid, enforceable contract with SMU as an academic enrollee, and

also as a resident living in on-campus housing.

       86.        SMU breached this contract in failing to adequately warn Plaintiffs of the

dangerous sexual assault conditions on campus that have been allowed to metastasize in light of

non-existent investigation procedures and student support activities.

       87.        SMU also breached this contract by failing to provide an adequately safe living and

educational environment for Plaintiff, and by failing to maintain an adequately safe living and

educational environment for Plaintiff after her reported rape.

       88.        As a result of these breaches of contract, Plaintiff suffered damages which were

foreseeable, and for which recovery is now requested.

                                          XI.
                          REQUEST FOR PERMANENT INJUNCTION

       89.        Plaintiff seeks a mandatory injunction ordering the Defendant to refrain from

unlawful discrimination and/or retaliation, ordering Defendant to undertake and rectify any and all

Title IX violations and/or inequities, ordering Defendant and its athletic department to refrain from

creating and condoning a hostile sexual harassment and/or discrimination environment against

individuals on the basis of sex by immediately ceasing deliberate indifference to sexual assaults;

and cease interference with the disciplinary process in favor of students who were charged with

sexual assault.

                                              XII.
                                         ATTORNEYS FEES

       90.        As a result of this action, Plaintiff has retained the undersigned to represent her in

her claims against SMU Accordingly, Plaintiff seeks attorneys’ fees incurred pursuant to Title IX.




ORIGINAL COMPLAINT                                                                          Page 22 of 24
   Case 3:20-cv-02584-N Document 1 Filed 08/30/20                   Page 23 of 24 PageID 23



        91.    Plaintiff thus requests award of reasonable and necessary attorneys’ fees for this

action. See, e.g., 42 U.S.C. §§ 1983 & 1988. Plaintiff also requests reasonable and necessary

attorneys’ fees for her breach of contract claim.

                                              XIII.
                                         JURY DEMAND

        92.    Plaintiff asserts her right under the Seventh Amendment to the U.S. Constitution

and in accordance with Federal Rule of Civil Procedure 38, respectfully demands a jury trial on

all issues.

                                             XIV.
                                      RELIEF REQUESTED

        93.    For the foregoing reasons, Plaintiff respectfully requests that the Court enter

judgment against Defendant SMU consistent with the relief requested herein, and for any and all

other relief to which Plaintiff may be justly entitled including actual damages, compensatory

damages, nominal damages, punitive damages, court and litigation costs, expert fees, attorneys’

fees, statutory interest, pre- and post-judgment interest, and injunctive relief.

        Dated this 30st day of August, 2020.

                                                 Respectfully submitted,


                                                 By:/s/ Michelle Simpson Tuegel

                                                 Michelle Simpson Tuegel
                                                 THE SIMPSON TUEGEL LAW FIRM, PLLC
                                                 State Bar No. 24075187
                                                 Admitted
                                                 3301 Elm St.
                                                 Dallas, Texas 75226
                                                 Tel: 214-774-9121
                                                 Fax: 214-939-9229
                                                 michelle@stfirm.com

                                                 MARYSSA J. SIMPSON
                                                 THE POTTS LAW FIRM



ORIGINAL COMPLAINT                                                                   Page 23 of 24
  Case 3:20-cv-02584-N Document 1 Filed 08/30/20      Page 24 of 24 PageID 24


                                    State Bar No. 24088414
                                    msimpson@potts-law.com
                                    Admitted
                                    TIMOTHY MICAH DORTCH
                                    State Bar No. 24044981
                                    mdortch@potts-law.com
                                    Admitted
                                    2911 Turtle Creek Blvd, Suite 1000
                                    Dallas, Texas 75219
                                    Tel: (214) 396-9429
                                    Fax: (469) 217-8296


                                    ATTORNEYS FOR PLAINTIFF




ORIGINAL COMPLAINT                                                       Page 24 of 24
